Case 2:20-cv-04803-SDW-LDW Document 29 Filed 10/14/21 Page 1 of 1 PageID: 385



                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY


    E.O., et al.
                                          Civil No. 20-4803
               Plaintiff,
                                          ORDER OF DISMISSAL
          v.

    TEANECK BOARD OF EDUCATION
    et. al.
                 Defendant.


      This matter having been reported settled and the Court

having administratively terminated the action for sixty (60)

days so that the parties could submit the papers necessary to

terminate the case, see Fed. R. Civ. P. 41(a)(1)(A)(ii), L. Civ.

R. 41.1, and the sixty-day time period having passed without the

Court having received the necessary papers;

      IT IS on this 14TH day of October, 2021

      ORDERED that the Clerk of the Court shall reopen the case

and make a new and separate docket entry reading “CIVIL CASE

REOPENED”; and it is further

      ORDERED that this matter be, and the same hereby is,

DISMISSED WITH PREJUDICE, and without costs pursuant to Fed. R.

Civ. P. 41(a)(2).

                                          s/ Susan D. Wigenton
                                         HON. SUSAN D. WIGENTON
                                              U.S.D.J.
